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Action in accordance with the Settlement Agreement, which, together with the documents

incorporated therein, sets forth the terms and conditions for a proposed settlement and dismissal

of the Action with prejudice, and the Court having read and considered the Settlement

Agreement and having heard the parties and being fully advised in the premises, hereby

preliminarily approves the Settlement Agreement in its entirety subject to the Final Approval

Hearing referred to in paragraph 5 of this Order.

       3.      This Court finds that it has jurisdiction over the subject matter of this action and

over all Parties to the Action.

       4.      The Court finds that, subject to the Final Approval Hearing, the Settlement

Agreement is fair, reasonable, and adequate, within the range of possible approval, and in the

best interests of the Settlement Class set forth below. The Court further finds that the Settlement

Agreement substantially fulfills the purposes and objectives of the class action, and provides

substantial relief to the Settlement Class without the risks, burdens, costs, or delay associated

with continued litigation, trial, and/or appeal. The Court also finds that the Settlement

Agreement (a) is the result of arm’s-length negotiations between experienced class action

attorneys; (b) is sufficient to warrant notice of the settlement and the Final Approval Hearing to

be disseminated to the Settlement Class; (c) meets all applicable requirements of law, including

Federal Rule of Civil Procedure 23 and the Class Action Fairness Act (“CAFA”), 28 U.S.C. §

1715; and (d) is not a finding or admission of liability by the Defendant or any other person, nor

a finding of the validity of any claims asserted in the Action or of any wrongdoing or any

violation of law.

Final Approval Hearing

       5.      The Final Approval Hearing shall be held before this Court on April 18, 2019, at




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12:00 p.m. [suggested date of 90 days after entry of this Order] in Courtroom 15D at Daniel

Patrick Moynihan United States Courthouse, 500 Pearl Street, New York, New York to

determine (a) whether the proposed settlement of the Action on the terms and conditions

provided for in the Settlement Agreement is fair, reasonable, and adequate and should be given

final approval by the Court; (b) whether a judgment and order of dismissal with prejudice should

be entered; (c) whether to approve the payment of attorneys’ fees, costs, and expenses to Class

Counsel; and (d) whether to approve the payment of an incentive award to the Class

Representative. The Court may adjourn the Final Approval Hearing without further notice to

members of the Settlement Class.

       6.      Class Counsel shall file papers in support of their Fee Award and Class

Representatives’ Incentive Awards (collectively, the “Fee Petition”) with the Court on or before

March 11, 2019 [suggested date of 52 days after entry of this Order, (i.e., 14 days before the

Objection/Exclusion Deadline).] Defendant may, but is not required to, file a response to Class

Counsel’s Fee Petition with the Court on or before March 28, 2019 [suggested date of 21 days

before Final Approval hearing.] Class Counsel may file a reply in support of their Fee Petition

with the Court on or before April 4, 2019 [suggested date of 14 days before Final Approval

hearing.]

       7.      Papers in support of final approval of the Settlement Agreement and any

supplementation to the Fee Petition shall be filed with the Court on or before April 4, 2019

[suggested date of 14 days before Final Approval hearing.]

Certification of the Settlement Class

       8.      For purposes of settlement only: (a) Bursor & Fisher, P.A. and Carey Rodriguez

Milian Gonya, LLP are appointed Class Counsel for the Settlement Class; and (b) Josephine




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James Edwards is named Class Representative. The Court finds that these attorneys are

competent and capable of exercising the responsibilities of Class Counsel and that Plaintiff

James Edwards will adequately protect the interests of the Settlement Class defined below.

       9.      For purposes of settlement only, the Court conditionally certifies the following

Settlement Class as defined in the Settlement Agreement:

               [A]ll Persons with a Michigan street address at any time on or
               before July 30, 2016 who purchased and/or had a subscription to a
               Hearst Publication on or before July 30, 2016.

       10.     The Court finds, subject to the Final Approval Hearing referred to in Paragraph 5

above, that the Settlement Agreement is fundamentally fair, adequate, and reasonable, and,

solely within the context of and for the purposes of settlement only, that the Settlement Class

satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure, specifically, that:

the Settlement Class is so numerous that joinder of all members is impracticable; there are

questions of fact and law common to the Settlement Class (e,g., whether Defendant unlawfully

disclosed to third parties Plaintiff’s and the Settlement Class’s Subscriber Information without

consent in a manner that violated the Michigan Preservation of Personal Privacy Act, M.C.L. §§

445.1712, et al. (“VRPA”), and whether Plaintiff and the Settlement Class members are entitled

to uniform statutory damages under the VRPA); the claims of the Class Representative are

typical of the claims of the members of the Settlement Class; the Class Representative and Class

Counsel will fairly and adequately protect the interests of the members of the Settlement Class;

common questions of law or fact predominate over questions affecting individual members; and

a class action is a superior method for fairly and efficiently adjudicating the Action.

       11.     If the Settlement Agreement does not receive the Court’s final approval, or if final

approval is reversed on appeal, or if the Settlement Agreement is terminated or otherwise fails to




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become effective, the Court’s grant of class certification shall be vacated, and the Class

Representative and the Settlement Class will once again bear the burden of establishing the

propriety of class certification. In such case, neither the certification of the Settlement Class for

settlement purposes, nor any other act relating to the negotiation or execution of the Settlement

Agreement shall be considered as a factor in connection with any class certification issue(s).

Notice and Administration

       12.     The Court approves, as to form, content, and distribution, the Notice Plan set forth

in the Settlement Agreement, including Claim Form attached to the Settlement Agreement as

Exhibit A, the Notice Plan and all forms of Notice to the Settlement Class as set forth in the

Settlement Agreement and Exhibits B, C, and D thereto, and finds that such Notice is the best

notice practicable under the circumstances, and that the Notice complies fully with the

requirements of the Federal Rules of Civil Procedure. The Court also finds that the Notice

constitutes valid, due and sufficient notice to all persons entitled thereto, and meets the

requirements of Due Process. The Court further finds that the Notice is reasonably calculated to,

under all circumstances, reasonably apprise members of the Settlement Class of the pendency of

this action, the terms of the Settlement Agreement, and the right to object to the settlement and to

exclude themselves from the Settlement Class. In addition, the Court finds that no notice other

than that specifically identified in the Settlement Agreement is necessary in this Action. The

Parties, by agreement, may revise the Notice and Claim Form in ways that are not material, or in

ways that are appropriate to update those documents for purposes of accuracy or formatting. The

Court has reviewed the Settlement Agreement and finds that the proposed notice is sufficient

with one modification—any mention of the date of the final fairness hearing shall include

language that makes clear that the Court may adjourn the date and time of the final fairness




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hearing, and that class members may call Plaintiff’s counsel to confirm the date and time. On

April 4, 2019, the Settlement Administrator shall provide the Court with a supplemental

declaration describing the results of the notice effort, including a chart containing how many

people were reached and how many have filed a claim.

       13.     The Court approves the request for the appointment of JND Legal Administration

as Settlement Administrator of the Settlement Agreement.

       14.     Pursuant to paragraph 4.1 of the Settlement Agreement, by January 28, 2019, the

Settlement Administrator is directed to publish the Notice and Claim Form on the Settlement

Website and to send direct notice via email by February 8, 2019 and U.S. Mail by February 15,

2019 in accordance with the Notice Plan called for by the Settlement Agreement. By January

28, 2019, the Settlement Administrator shall also maintain the Settlement Website to provide full

information about the Settlement and allow for the filing of claims online.

Submission of Claims and Requests for Exclusion from Class

       15.     Members of the Class who wish to receive benefits under the Settlement

Agreement must complete and submit a timely and valid Claim Form(s) in accordance with the

instructions contained therein. All Claim Forms must be postmarked or received by the

Settlement Administrator by March 25, 2019.

       16.     Any person falling within the definition of the Settlement Class may, upon valid

and timely request, exclude themselves or “opt out” from the Class. Any such person may do so

if, on or before the Objection/Exclusion Deadline of March 25, 2019 [suggested date of 66 days

after entry of this Order] they comply with the exclusion procedures set forth in the Settlement

Agreement and Notice. Any members of the Class so excluded shall neither be bound by the

terms of the Settlement Agreement nor entitled to any of its benefits.




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       17.     Any members of the Settlement Class who elect to exclude themselves or “opt

out” of the Settlement Agreement must file a written request with the Settlement Administrator,

received or postmarked no later than the Objection/Exclusion Deadline. The request for

exclusion must comply with the exclusion procedures set forth in the Settlement Agreement and

Notice and include the Settlement Class member’s name and address, the name of the Hearst

Publication to which he or she is a subscriber, a signature, the name and number of the case, and

a statement that he or she wishes to be excluded from the Settlement Class for the purposes of

this Settlement. Each request for exclusion must be submitted individually. So called “mass” or

“class” opt-outs shall not be allowed.

       18.     Individuals who opt out of the Class relinquish all rights to benefits under the

Settlement Agreement and will not release their claims. However, members of the Settlement

Class who fail to submit a valid and timely request for exclusion shall be bound by all terms of

the Settlement Agreement and the Final Judgment, regardless of whether they have requested

exclusion from the Settlement Agreement.

Appearances and Objections

       19.     At least twenty-one (21) calendar days before the Settlement Hearing, any person

who falls within the definition of the Settlement Class and who does not request exclusion from

the Class may enter an appearance in the Action, at their own expense, individually or through

counsel of their own choice. Any Settlement Class Member who does not enter an appearance

will be represented by Class Counsel.

       20.     Any members of the Settlement Class who have not timely filed a request for

exclusion may object to the fairness, reasonableness, or adequacy of the Settlement Agreement

or to a Final Judgment being entered dismissing the Action with prejudice in accordance with the




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terms of the Settlement Agreement, or to the attorneys’ fees and expense reimbursement sought

by Class Counsel in the amounts specified in the Notice, or to the award to the Class

Representatives as set forth in the Notice and Settlement Agreement. At least fourteen (14) days

prior to the Objection/Exclusion Deadline, papers supporting the Fee Award shall be filed with

the court and posted to the settlement website. Members of the Class may object on their own,

or may do so through separate counsel at their own expense.

       21.     To object, members of the Class must sign and file a written objection no later

than on or before the Objection/Exclusion Deadline of March 25, 2019 [suggested date of 66

days after entry of this Order]. To be valid, the objection must comply with the objection

procedures set forth in the Settlement Agreement and Notice, and include his or her name and

address; an explanation of the basis upon which he or she claims to be a Settlement Class

Member, including the Hearst Publication to which he or she is or was a subscriber; a signature;

all grounds for the objection, including all citations to legal authority and evidence supporting

the objection; the name and contact information of any and all attorneys representing, advising,

or in any way assisting him or her in connection with the preparation or submission of the

objection or who may profit from the pursuit of the objection (the “Objecting Attorneys”); and a

statement indicating whether he or she intends to appear at the Final Approval Hearing (either

personally or through counsel who files an appearance with the Court in accordance with

Southern District of New York Local Rules). If a Settlement Class Member or any of the

Objecting Attorneys has objected to any class action settlement where the objector or the

Objecting Attorneys asked for or received any payment in exchange for dismissal of the

objection, or any related appeal, without any modification to the settlement, then the objection

must include a statement identifying each such case by full case caption.




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       22.     Members of the Class who fail to file and serve timely written objections in

compliance with the requirements of this paragraph and the Settlement Agreement shall be

deemed to have waived any objections and shall be foreclosed from making any objections

(whether by appeal or otherwise) to the Settlement Agreement or to any of the subjects listed in

paragraph 5, above, i.e. (a) whether the proposed settlement of the Action on the terms and

conditions provided for in the Settlement Agreement is fair, reasonable, and adequate and should

be given final approval by the Court; (b) whether a judgment and order of dismissal with

prejudice should be entered; (c) whether to approve the payment of attorneys’ fees and expenses

to Class Counsel; and (d) whether to approve the payment of an incentive award to the Class

Representative..

       23.     To be valid, objections by persons represented by counsel must be filed

electronically on the docket. Pro se objectors may mail their objections to the Court, Honorable

Analisa Torres, 500 Pearl Street, New York, New York, 10012, with a copy also sent to the

following: Class Counsel Scott A. Bursor of Bursor & Fisher, P.A., 888 Seventh Avenue, New

York, NY 10019 and David P. Milian of Carey Rodriguez Milian Gonya, LLP, 1395 Brickell

Avenue, Suite 700, Miami, FL 33131; and Defendant Hearst Communication, Inc.’s Counsel

Jonathan R. Donnellan of The Hearst Corporation, Office of General Counsel, 300 West 57th

Street, 40th Floor, New York, NY 10019.

Further Matters

       24.     All further proceedings in the Action are ordered stayed until Final Judgment or

termination of the Settlement Agreement, whichever occurs earlier, except for those matters

necessary to obtain and/or effectuate final approval of the Settlement Agreement.

       25.     Members of the Settlement Class shall be bound by all determinations and




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judgments in the Action concerning the Action and/or Settlement Agreement, whether favorable

or unfavorable.

       26.      The Court retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement Agreement. The Court may approve the Settlement,

with such modifications as may be agreed to by the Parties, if appropriate, without further notice

to the Class.

       27.      Any Settlement Class Member who does not timely and validly submit a claim:

(a) shall be barred from participating in any distributions of the Settlement Fund; (b) shall be

bound by the provisions of the Settlement Agreement and all proceedings, determinations, orders

and judgments in the Action relating thereto, including, without limitation, the Judgment or

Alternate Judgment, if applicable, and the Releases provided for therein, whether favorable or

unfavorable to the Class; and (c) shall be barred and enjoined from directly or indirectly filing,

commencing, instituting, prosecuting, maintaining, or intervening in any action, suit, cause of

action, arbitration, claim, demand, or other proceeding in any jurisdiction, whether in the United

States or elsewhere, on their own behalf or in a representative capacity, that is based upon or

arises out of any or all of the Released Claims against any of the Defendant and the other

Released Parties, as more fully described in the Settlement Agreement.

       28.      If the Settlement Agreement is not approved by the Court in complete accordance

with its terms, each party will have the option of having the Action revert to its status as if the

Settlement Agreement had not been negotiated, made, or filed with the Court. In such event, the

parties will retain all rights as if the Settlement Agreement was never agreed upon.

       29.      In the event that the Settlement Agreement is terminated pursuant to the

provisions of the Settlement Agreement or for any reason whatsoever the approval of it does not




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become Final then (i) the Settlement Agreement shall be null and void, including any provision

related to the award of attorneys’ fees, and shall have no further force and effect with respect to

any party in this Action, and shall not be used in this Action or in any other proceeding for any

purpose; (ii) all negotiations, proceedings, documents prepared, and statements made in

connection therewith shall be without prejudice to any person or party hereto, shall not be

deemed or construed to be an admission by any party of any act, matter, or proposition, and shall

not be used in any manner or for any purpose in any subsequent proceeding in this Action or in

any other action in any court or other proceeding, provided, however, that the termination of the

Settlement Agreement shall not shield from subsequent discovery any factual information

provided in connection with the negotiation of this Settlement Agreement that would ordinarily

be discoverable but for the attempted settlement; (iii) other than as expressly preserved by the

Settlement Agreement in the event of its termination, the Settlement Agreement shall have no

further force and effect with respect to any party and shall not be used in the Action or any other

proceeding for any purpose; and (iv) any party may elect to move the Court pursuant to the

provisions of this paragraph, and none of the non-moving parties (or their counsel) shall oppose

any such motion.

       The Clerk of Court is directed to terminate the motion at ECF No. 289.

       SO ORDERED.

Dated: January 24, 2019
       New York, New York




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